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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

 VICKI DEFRANK

        Plaintiff,
 v.                                                CASE NO.: 8:18-cv-01016-CEH-MAP

 RECEIVABLES PERFORMANCE
 MANAGEMENT, LLC

        Defendant.
                                              /

                          NOTICE OF PENDING SETTLEMENT
       PLAINTIFF, VICKI DEFRANK, by and through his undersigned counsel, hereby
submits this Notice of Pending Settlement and states that Plaintiff, VICKI DEFRANK, and
Defendant, RECEIVABLES PERFORMANCE MANAGEMENT, LLC., have reached a
settlement with regard to this case and are presently drafting, finalizing, and executing the
settlement and dismissal documents. Upon execution of same, the parties will file the appropriate
dismissal documents with the Court.

                               CERTIFICATE OF SERVICE
       I HEREBY CERTIFY that, on this 18th day of June, a true and correct copy of the
foregoing was filed with the Clerk of the Court and served on the parties of record using the
CM/ECF system.
                                      Respectfully submitted,
                                             /s/Heather H. Jones
                                             Heather H. Jones, Esq.
                                             Florida Bar No. 0118974
                                             William “Billy” Peerce Howard, Esq.
                                             Florida Bar No. 0103330
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